Case 1:17-mc-0_0205-VEC»__ Document 1 Filed 06/15/17 Page 1 of 2
Case 1:16-cv~00661-RC Document 33 Filed 04/07/17 Page 1 of 1

AO 450 (Rev, 01/09, DC-03/10) Judgment m a Civrl Act\on

UNITED STATES DISTRICT COURT

for the
District of Columbia

CRYSTALLEX lNTERNATlONAL CORPORATlON

)
Plain¢iff )
v. ) Civil Action No. 16 CV 661 (RC)
)
)

BOL.lVARlAN REPUBL|C OF VENEZUELA
Defena’am

' JUDGMENT IN A CIVIL ACTION

The court has ordered that (check one):

 

 

 

d the plaintiff (name) CRYSTALLEX lNTERNATlONAL CORPORAT|ON recover from the
defendant (name) BOL|VAR|AN REPUBLlC OF VENEZUELA the amount of
one billion two hundred two million dollars r1,202,000,000.001 dollars ($ ), which includes prejudgment
interest at the rate of %, plus postjudgment interest at the rate of “___W__ ~%, along with costs,

Cl the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
recover costs from the plaintiff (name)

 

 

 

13 Oth€rr ***pre award interest from Aprl| 13, 2008 to April 4, 2016 (the date of the
Award) at a rate of the 6-month average U. S. Do|lar LIBOR plus 1%,
compounded annually***

This action was (check one):

 

 

CJ tried by ajury with Judge presiding, and thejury has
rendered a verdict

l`J tried by lodge , 'without ajury and the above decision
was reached.

&{ decided by Judge Rudolph Contreras on a motion for

 

confirmation of arbitral award, respondents motion to vacate arbitral award, and petitioner's motion fora
pre-judgment bond

ome _* '04070017 . . ANGEL4D.Cn£sAR,cLERKcn¢coURT

 

 

S n lure of Cleik or beputy Clerk
ECF

DCCUMENT
I heavy attest and certify that this ls a printed copy of a
dowment whlch was electronically filed with the Unlhed
Staws Dlstrlct and §ankru Courts fo7r the Dlstrlct of
Co\umbla. Aplst c672
Date Fl|ed: " »

/§ ` ANGELA o 0cArzsAR, cLERK

 

 

 

Case 1:17-mc-OO205-VEC Document 1 Filed 06/15/17 Page 2 of 2

AO 45l (Rev. 12/12) Clerk’s Certification of a Judgment to be Registered in Another District

 

UNITED STATES DISTRICT CoURT

for the
District of Columbia

CRYSTALLEX INTERNATIONAL CORPORATION

 

 

)
Plal'ntijj‘ ) ,
v. ) CivilAction No. 16-0661 (RC)
BOLIVAR|AN REPUBL|C OF VENEZUELA )
Defendant )

CLERK’S CERTIFICATION OF A JUDGMENT T() BE REGISTERED IN ANOTHER DISTRICT

I certify that the attached judgment is a copy of a judgment entered by this court on (dare) 04/07/2017 7 .

I also certify that, as appears from this court's records, no motion listed in Fed. R. App. P. 4(a)(4)(A) is_pending
before this court, the time for appeal has expired, and no appeal has been filed or, if one was tiled, it is no longer '
pending. See attached Order dated 06/09/2017.

Date: 6 /?' 7

CLERK OF co URT

/--

Signaturé of `lrk or Deputy Cl/

  
             

 

